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07/27/2017 12:10 AM CDT




                                                         - 796 -
                                  Nebraska Supreme Court A dvance Sheets
                                          296 Nebraska R eports
                                                 STATE v. SCHIESSER
                                                  Cite as 296 Neb. 796



                                        State of Nebraska, appellee, v.
                                        Michael R. Schiesser, appellant.
                                                    ___ N.W.2d ___

                                           Filed June 2, 2017.     No. S-16-115.

                  Petition for further review from the Court of Appeals,
               Inbody, R iedmann, and Bishop, Judges, on appeal thereto from
               the District Court for Lancaster County, Lori A. M aret, Judge.
               Judgment of Court of Appeals affirmed.
                    John S. Berry, of Berry Law Firm, for appellant.
                 Douglas J. Peterson, Attorney General, Melissa R. Vincent,
               and, on brief, George R. Love for appellee.
                  Heavican, C.J., Wright, Miller-Lerman, Cassel, Stacy,
               K elch, and Funke, JJ.
                  Per Curiam.
                  Having reviewed the briefs and record and having heard
               oral arguments, we conclude on further review that the deci-
               sion of the Nebraska Court of Appeals in State v. Schiesser, 24
               Neb. Ct. App. 407, 888 N.W.2d 736 (2016), is correct, and accord-
               ingly, we affirm the decision of the Court of Appeals which
               affirmed the judgment of the district court.
                                                                   A ffirmed.
